       Case 2:18-cv-00064-KOB Document 27 Filed 10/05/18 Page 1 of 11                        FILED
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                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

JESSIE BASCOMB, et al.,                    ]
                                           ]
      Plaintiffs,                          ]
                                           ]
v.                                         ]   CIVIL ACTION NO.
                                           ]   2:18-CV-00064-KOB
EXPRESS COURIER                            ]
INTERNATIONAL, INC., et al.,               ]
                                           ]
      Defendants.                          ]

                          MEMORANDUM OPINION

      This matter comes before the court on Defendants Express Courier

International, Inc. and EMP LSO Holding Corp.’s motion to dismiss Plaintiffs’

First Amended and Substituted Complaint. (Doc. 17). The 203 individually

named Plaintiffs in this matter performed courier duties for Defendants under a

contract that identified each Plaintiff as an independent contractor and not an

employee of Defendants. Plaintiffs allege that they are actually employees of

Defendants and that Defendants failed to pay them minimum and overtime wages

in violation of the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”).

Defendants contend that Plaintiffs are not employees, and that even if Plaintiffs

were employees, Plaintiffs have not sufficiently alleged minimum and overtime

wage violations.

      As further explained below, the court WILL GRANT Defendants’ motion to

                                          1
        Case 2:18-cv-00064-KOB Document 27 Filed 10/05/18 Page 2 of 11



dismiss only on the basis of Plaintiffs’ failure to sufficiently allege minimum and

overtime wage violations. The court will reach no decision at this point on

whether Plaintiffs are covered employees under the FLSA. And the court WILL

GRANT Plaintiffs’ request for leave to file a second amended complaint.

I.     STANDARD OF REVIEW

       A motion to dismiss challenges the legal sufficiency of a complaint. Under

Rule 12(b)(6) of the Federal Rules of Civil Procedure, a defendant may move to

dismiss a complaint for “failure to state a claim upon which relief can be granted.”

To survive a motion to dismiss, “a complaint must allege ‘enough facts to state a

claim to relief that is plausible on its face.’” Adinolfe v. United Tech. Corp., 768

F.3d 1161, 1169 (11th Cir. 2014) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 555 (2007)). To be plausible on its face, the claim must contain enough

“factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009). On a motion to dismiss, the court accepts as true the factual

allegations in the complaint and construes them in the light most favorable to the

plaintiff. Id.

       But not all allegations can defeat a motion to dismiss. “[L]abels and

conclusions[] and a formulaic recitation of the elements of a cause of action will

not do,” and “[f]actual allegations must be enough to raise a right to relief above


                                          2
        Case 2:18-cv-00064-KOB Document 27 Filed 10/05/18 Page 3 of 11



the speculative level.” Twombly, 550 U.S. at 555. If the court determines that

well-pleaded facts, accepted as true, do not state a plausible claim, the claim must

be dismissed. Iqbal, 556 U.S. at 678.

II.   BACKGROUND

      The FLSA provides (1) minimum and overtime wage protections (2) to

covered employees. 29 U.S.C. §§ 206, 207. Plaintiffs allege that they are covered

employees under the FLSA and Defendants vigorously contest that allegation. But

the court will present only facts relevant to the alleged minimum and overtime

wage violations because as explained below, Defendants’ motion to dismiss is due

to be granted regardless of whether Plaintiffs are covered employees.

      Defendants’ courier and package delivery business depended crucially on

the 203 individually named Plaintiffs in this case. With Plaintiffs’ personal

vehicles, Plaintiffs picked up parcels from Defendants’ warehouses and delivered

them to Defendants’ customers. (Doc. 7 at ¶¶ 221, 249, 276). Each Plaintiff

performed services for Defendants under an “owner-operator agreement.” (Id. at ¶

243). The agreement identified each Plaintiff as an “independent contractor.” (Id.

at ¶¶ 242, 272). Defendants paid Plaintiffs “through a combination of piece rates,

route rates or delivery rates.” (Id. at ¶ 252).

      According to Plaintiffs, “Defendant generally did not pay any drivers any

overtime premium for hours that they worked over forty hours per week. . . . If


                                            3
           Case 2:18-cv-00064-KOB Document 27 Filed 10/05/18 Page 4 of 11



any driver worked more than forty hours per week, Defendant’s policy was not to

pay that driver an overtime premium of one and one half times the driver’s regular

rate for the hours over forty.” (Doc. 7 at ¶¶ 266-67). 1 Plaintiffs contend that

“Defendant knew or should have known that the job duties of Plaintiffs required

Plaintiffs to work hours in excess of forty per week, yet Defendant failed and

refused to compensate Plaintiffs for their work as required by the FLSA.” (Id. at ¶

270). In addition, Plaintiffs assert that “[a]fter deducting for expenses related to

the operation of at least some Plaintiffs’ vehicles in the course of performing job

duties for Defendant, some Plaintiffs’ pay regularly fell below the minimum wages

required by the FLSA.” (Id. at ¶ 269).

       Defendants contend that Plaintiffs have failed to state a plausible claim of a

minimum wage or overtime violation under the FLSA because Plaintiffs do not

allege (1) who received less than minimum wage or worked more than forty hours

in one week without overtime pay; (2) how many hours a week each Plaintiff

worked; (3) whether a Plaintiff worked more than forty hours a week; and (4)

whether the expenses that a Plaintiff incurred actually brought his or her wage

below minimum wage. (Doc. 18 at 15). Defendants argue also that Plaintiffs’

allegation that “some” Plaintiffs received less than minimum wage “does not

render it plausible that each Plaintiff had his or her wages fall below the minimum

       1
          In their brief in opposition to Defendants’ motion to dismiss, Plaintiffs state that they
refer to both Defendants collectively as “Defendant” in the amended complaint. (Doc. 22 at 27).

                                                 4
        Case 2:18-cv-00064-KOB Document 27 Filed 10/05/18 Page 5 of 11



wage.” (Id.). Defendants similarly argue that “an allegation that some unidentified

Plaintiffs worked more than 40 hours in a week cannot render plausible that the

remaining unidentified Plaintiffs did so.” (Id. at 15-16).

       With the parties’ positions in mind, the court next analyzes the sufficiency of

Plaintiffs’ amended complaint and finds that it fails to state a plausible claim for

relief under the FLSA.

III.   ANALYSIS

       As the court mentioned above, the FLSA establishes a minimum and

overtime wage for covered employees. 29 U.S.C. §§ 206, 207. Any employer

who fails to pay its covered employees overtime compensation or less than

minimum wage “shall be liable to the employee or employees affected in the

amount of their unpaid minimum wages, or their unpaid overtime compensation, as

the case may be, and in an additional equal amount as liquidated damages.” 29

U.S.C. § 216(b). Because of the FLSA’s clear mandates, the Eleventh Circuit has

found that “the requirements to state a claim of a FLSA violation are quite

straightforward. The elements that must be shown are simply a failure to pay

overtime compensation and/or minimum wages to covered employees . . . .” Sec’y

of Labor v. Labbe, 319 F. App’x 761, 763 (11th Cir. 2008).

       Plaintiffs rely on Labbe as if it lowers the pleading standard for an FLSA

claim below the standard established in Twombly and Iqbal. It does not. See


                                           5
           Case 2:18-cv-00064-KOB Document 27 Filed 10/05/18 Page 6 of 11



Cooley v. HMR of Alabama, Inc., 259 F. Supp. 3d 1312, 1318 (N.D. Ala. 2017)

(finding that Labbe does not lower the Twombly/Iqbal pleading standard for FLSA

claims in part because “Labbe is an unpublished opinion and therefore not binding

on this Court. See U.S. Ct. of App. 11th Cir. Rule 36-2. Further, Labbe was

decided prior to Iqbal.”); Gonzalez v. Old Lisbon Rest. & Bar L.L.C., 820 F. Supp.

2d 1365, 1370 & n.3 (S.D. Fla. 2011) (finding that Twombly/Iqbal governs the

sufficiency of FLSA pleadings notwithstanding Labbe). The elements of an FLSA

claim certainly are straightforward, but Plaintiffs’ conclusory allegations that they

have established those elements with respect to some unknown Plaintiffs do not

constitute well-pleaded factual allegations demonstrating a plausible claim for

relief.

          The court finds several flaws in Plaintiffs’ amended complaint. First and

most notably, Plaintiffs do not identify which of the 203 Plaintiffs received less

than minimum wage. Plaintiffs refer only to “some” Plaintiffs whose “pay

regularly fell below the minimum wages.” (Doc. 7 at ¶ 269). The court cannot say

that 203 individual Plaintiffs each have stated a plausible claim for relief when

they collectively refer only to “some” who suffered an FLSA violation. Cf. Ryte v.

Express Courier Int’l, Inc., 2018 WL 3723709, at *3 (N.D. Ga. July 31, 2018)

(“Plaintiffs still must allege which Plaintiffs suffered a minimum wage and/or

overtime violation. It is not enough to say that some Plaintiffs suffered a minimum


                                            6
       Case 2:18-cv-00064-KOB Document 27 Filed 10/05/18 Page 7 of 11



wage violation and/or overtime violation. Here, Plaintiffs’ Complaint only alleges

that some Plaintiffs suffered a minimum wage violation. . . . Therefore, Plaintiffs’

Complaint does not sufficiently allege FLSA minimum wage or overtime

violations.”) (emphasis in original) (footnote omitted).

      Next, Plaintiffs do not allege that any Plaintiff received less than minimum

wage or worked more than 40 hours in a week without overtime pay. Plaintiffs

allege only that Defendants “generally” did not pay overtime and had a “policy”

not to pay overtime “[i]f any driver worked more than forty hours per week.”

(Doc. 7 at ¶¶ 266-67). These allegations leave the court to speculate whether any

Plaintiff actually worked more than forty hours in a week and fell victim to that

policy. Even what Plaintiffs consider to be their most specific allegations—

“Defendant knew or should have known that the job duties of Plaintiffs required

Plaintiffs to work hours in excess of forty per week, yet Defendant failed and

refused to compensate Plaintiffs for their work as required by the FLSA,” (id. at ¶

270), and, “Defendant also unlawfully refrained from paying Plaintiffs an overtime

premium for hours over forty per week,” (id. at ¶ 277)—do not actually allege that

any Plaintiff worked more than forty hours in a week and did not receive overtime

pay. Plaintiffs’ contentions amount to conclusory allegations and illusory

references that do not “allow[] the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.


                                          7
        Case 2:18-cv-00064-KOB Document 27 Filed 10/05/18 Page 8 of 11



      Plaintiffs’ argument that “[i]n the Eleventh Circuit, however, Plaintiffs are

not required to plead how many hours they worked each week, what weeks they

worked more than forty hours or how frequently they worked more than forty

hours,” though correct, misses the point. (Doc. 22 at 10) (collecting cases).

Plaintiffs’ claim fails because they have not alleged that any specific Plaintiff

actually received less than minimum wage or worked more than 40 hours in a

week without overtime pay.

      And none of the numerous cases cited by Plaintiffs saves their claim. (See

Doc. 22 at 10-12). In each of those cases, unlike in this case, the plaintiff or

plaintiffs asserted affirmatively that a specific plaintiff or plaintiffs received less

than minimum wage or worked more than 40 hours in a week without overtime

pay. And contrary to Plaintiffs’ assertions, courts in the Eleventh Circuit have

consistently dismissed complaints for failure to allege a specific instance of a

minimum wage or overtime violation. See, e.g., Cooley, 259 F. Supp. 3d at 1319

(“[T]o plausibly state a claim for failure to pay overtime under the FLSA, the

Plaintiffs must provide sufficient factual allegations to support a reasonable

inference that they worked more than forty hours in at least one workweek and that

the Defendant failed to pay the requisite overtime premium for those overtime

hours.”) (footnote omitted); Beck v. Fin. Tech. Corp., 2017 WL 5668388, at *6

(N.D. Ala. Nov. 27, 2017) (dismissing FLSA claim where Plaintiff alleged only


                                            8
       Case 2:18-cv-00064-KOB Document 27 Filed 10/05/18 Page 9 of 11



that she “frequently worked in excess of 40 hours per week”); Stafflinger v. RTD

Constructions, Inc., 2015 WL 9598825, at *2 (M.D. Fla. Dec. 14, 2015), report

and recommendation adopted, 2016 WL 48110 (M.D. Fla. Jan. 5, 2016)

(dismissing FLSA claim where “Plaintiff never actually allege[d] that he ever

worked in excess of 40 hours in a workweek while employed by Defendant”); St.

Croix v. Genentech, Inc., 2012 WL 2376668, at *1 (M.D. Fla. June 22, 2012)

(dismissing FLSA claim where Plaintiff alleged only that “‘at all material times

hereto’ she worked in excess of forty hours per work week”). As in those cases,

Plaintiffs here have not sufficiently alleged an FLSA minimum wage or overtime

violation.

      However, in their brief in opposition to Defendants’ motion to dismiss,

Plaintiffs request leave to file a second amended complaint “if this Court agrees

that Plaintiffs must plead more facts with particularity.” (Doc. 22 at 28).

Generally, “[w]hen ‘a more carefully drafted complaint might state a claim, a

plaintiff must be given at least one chance to amend the complaint before the

district court dismisses the action with prejudice.’” Evans v. Georgia Reg’l Hosp.,

850 F.3d 1248, 1254 (11th Cir. 2017) (quoting Bryant v. Dupree, 252 F.3d 1161,

1163 (11th Cir. 2001)). And the Federal Rules of Civil Procedure direct courts to

“freely give leave” to amend “when justice so requires.” Fed. R. Civ. P. 15(a)(2).

Plaintiffs filed their original complaint on January 12, 2018 and amended their


                                          9
       Case 2:18-cv-00064-KOB Document 27 Filed 10/05/18 Page 10 of 11



complaint as a matter of course on April 11, 2018, only two months before

Defendants moved to dismiss and only to add five new Plaintiffs. Plaintiffs might

state a claim with a more carefully drafted complaint that cures the deficiencies

identified above, and so the court will grant Plaintiffs’ request for leave to file a

second amended complaint. Cf. Cooley, 259 F. Supp. 3d at 1323 (granting leave to

amend original complaint for the same reasons); Ryte, 2018 WL 3723709, at *3

(granting leave to file a third amended complaint for Plaintiffs “to allege which

Plaintiffs suffered minimum wage and overtime violations . . . .”).

      Finally, Defendants argue that the court should dismiss all claims against

Defendant EMP LSO Holding because Plaintiffs do not allege any facts specific to

EMP LSO Holding. (Doc. 18 at 32). Plaintiffs contend that they refer to both

Defendants collectively as “Defendant” in their complaint and “intended to make

each allegation against each Defendant because both Defendants engaged in the

same conduct.” (Doc. 22 at 27). Plaintiffs have the opportunity in their second

amended complaint to clarify that they bring claims against both Defendants and

state the basis for their claims, and so the court will not at this stage preclude

Plaintiffs from bringing any claims against EMP LSO Holding.

IV.   CONCLUSION

      By separate order, the court WILL GRANT Defendants’ motion to dismiss

and WILL DISMISS WITHOUT PREJUDICE Plaintiffs’ first amended


                                           10
      Case 2:18-cv-00064-KOB Document 27 Filed 10/05/18 Page 11 of 11



complaint. The court WILL GRANT Plaintiffs LEAVE TO FILE a second

amended complaint on or before November 5, 2018.

     DONE and ORDERED this 5th day of October, 2018.


                                  ____________________________________
                                  KARON OWEN BOWDRE
                                  CHIEF UNITED STATES DISTRICT JUDGE




                                    11
